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                                       UNITED  STATES  BANKRUPTCY  COURT  
                                         SOUTHERN  DISTRICT  OF  FLORIDA  
                                               www.flsb.uscourts.gov  
In  re:     
Kendall  Lake  Towers    
Condominium  Association,  Inc.                                                              Case  16-­12114-­RAM  
Debtor                                                                                       Ch  11                                           
______________________/  
  
  BALLOT  AND  DEADLINE  FOR  FILING  BALLOT  ACCEPTING  OR  REJECTING  PLAN  
  
     TO  HAVE  YOUR  VOTE  COUNT  YOU  MUST  COMPLETE  AND  RETURN  THIS  
    BALLOT  BY  THE  DEADLINE  (AS  SET  PURSUANT  TO  LOCAL  RULE  3018-­1)  
                              NOVEMBER  29,  2018  
  
The  plan  filed  by  Debtor  can  be  confirmed  by  the  court  and  thereby  made  binding  on  you  if  it  is  accepted  by  
the   holders   of   two-­thirds   in   amount   and   more   than   one-­half   in   number   of   claims   in   each   class   and   the  
holders  of  two-­thirds  in  amount  of  equity  security  interests  in  each  class  voting  on  the  plan.  In  the  event  the  
requisite   acceptances   are   not   obtained,   the   court   may   nevertheless   confirm   the   plan   if   the   court   finds   that  
the  plan  accords  fair  and  equitable  treatment  to  the  class  rejecting  it.      
  
Creditor:               Appelrouth,                 Farah              &                Co.,           Inc.                                                            
for  the  following  type  of  claim  placed  in  the  indicated  class  in  the  indicated  amount:  
  
        TYPE  OF  CLAIM                           CLASS  IN  PLAN                                 AMOUNT  OF  CLAIM  
   Secured                                                                          $                                                        
 Unsecured                                   3                                      $36,655               
   Equity  Security  Holder                                                         $    
  
The  undersigned  [Check  One  Box]  X  Accepts                                   __  Rejects    
the  plan  for  reorganization  of  the  above-­named  debtor.  
  
            Signed:  s/s:  Paul  Orshan,  Esq.  (authorized  by  client  to  have  Aresty  file  ballot)  
            Print  Name:  Paul  Orshan                                       
            Address:  701  Brickell  Ave  
            Phone:305-­529-­9380  
            Date:      11/26/18  
                           
                    FILE  THIS  BALLOT  ON  OR  BEFORE  NOVEMBER  29,  2018  
  
with:       Office   of   the   Clerk   C.   Clyde   Atkins   United   States   Courthouse      301   North  
            Miami  Avenue,  Room  150  Miami,  FL  33128    
            and  JOEL  ARESTY  aresty@icloud.com    
              
           If  you  have  more  than  one  type  of  claim  against  this  debtor,  separate  ballots  must  
           be   filed   and   you   should   receive   a   ballot   for   each   type   of   claim   eligible   to   vote.    
           Contact  the  plan  proponent  regarding  incorrect  or  insufficient  ballot(s).                  
